        Case 2:22-cv-00173-NAD Document 7 Filed 04/18/22 Page 1 of 1                      FILED
                                                                                 2022 Apr-18 AM 10:25
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION


D’WANNA WILLIAMS,                      )
                                       )
             Plaintiff,                )
                                       )
      vs.                              )     Case No. 2:22-cv-00173-NAD
                                       )
DALESSANDRO ENTERPRISES,               )
LLC,                                   )
                                       )
             Defendant.                )

                          MINUTE ENTRY OF DISMISSAL

      Pursuant to Federal Rule of Civil Procedure 41(a), Plaintiff D’Wanna

Williams has voluntarily dismissed this action WITH PREJUDICE. Doc. 6.

Except as contained in the settlement agreement of the parties, each party shall bear

its own attorneys’ fees, costs, and expenses. This case is CLOSED.


Dated: April 18, 2022                        SHARON N. HARRIS, CLERK


                                             By: s/ M. Barnes
                                                    Deputy Clerk
